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UNITED STATES DISTRICT COURT
DISTRICT OF ALASKA AT ANCHORAGE

UNITED STATES OF AMERICA, for the

use ofMKB CONSTRUCTORS, a
Washington partnership,

Plaintiff,
vs.

COLASKA, INC. dba QUALITY
ASPHALT PAVING, an Alaska
Corporation; LIBERTY MUTUAL
INSURANCE COMPANY OF
MARYLAND, a Maryland Corporation
(Bond No. 014046569.8911350); and
ZURICH AMERICAN INSURANCE, a
New York COrporatiOn (Bond NO.
014046569/.8911350),

Defendants.

NO. 3:10-cV-00274-HRH

MOTION FOR ORDER COMPELLING
PRGDUCTION OF DOCUMENTS
AND ELECTRONICALLY STORED
INFORMATION

 

 

 

 

MOTION FOR ORDER COMPELLING
PRODUCTION OF DOCUMENTS AND
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1. iNTRoDUCTIoN

Plaintiff MKB Constructors (“MKB”), through its undersigned counsel, moves this
Court for entry of an order compelling production of certain documents and electronically
stored information requested in a January 22, 2011, records subpoena served on the
Municipality of Anchorage (“Municipality”).

This matter arises from the Port of Anchorage Interrnodal Expansion Project
(“Project”). MKB entered into a $16 million subcontract to install the Project’s sheet pile
bulkhead, and now claims additional compensation exceeding Sll million. MKB
subpoenaed the records of the Municipality for, among other things, access to the Project’s
“Contract Management System” (referred to as “CMS") - a depository of electronically stored
Project documents Counsel for the Municipality and MKB have conferred and agreed upon
the scope of the subpoena, except for access to the CMS documents These documents are
clearly relevant to the Project, as well as MKB’s subcontract and claims. But the
Municipality, with no justification, will not produce them.

II. S'I`ATEMENT OF FACTS

The Municipality established a partnership with the United States Department of
Transportation Maritime Administration (“MARAD”) during 2003 to develop and modernize
the Port of Anchorage. MARAD is now a party to a written public works contract with
Integrated Concepts and Research Colporation (“ICRC”) for the design and construction ot`
the Project. The CMS was developed and maintained during the Project as an electronic

depository of Project documents According to lCRC, documents stored electronically in the

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CMS include “task orders and contractual change orders”.l The CMS is password protected,
but several stakeholders with potentially adverse interests, including MARAD, the Port of
Anchorage, ICRC, the Municipality and others, all have access.2

On or around March 14, 2008, ICRC entered into a written subcontract with Colaska,
lnc., dba Quality Asphalt Paving (“QAP”), defendant herein, to perform certain work on the
Project. On or around l\/Iarch 31, 2008, QAP, in tum, sub-subcontracted with MKB, plaintiff
herein, for a significant portion of that work. lt is the sub-subcontract between QAP and
MKB that is the subject ofthis lawsuit.

Counsel for all parties to this action have met and conferred regarding a plan for
proposed discovery3 Pursuant to the parties’ stipulation, on January 31, 2011, the Court
granted a stay of proceedings except for limited discovery,4 As part of that limited discovery,
MKB served a records subpoena on the Municipality on January 21, 2011.5 Among other
things, the records subpoena requested:

All documents and correspondence relating to the Project that are
contained in the Contract Management System, also known as CMS,
r(r:i§/ilgtz;ined by MARAD, and all indexes of the documents contained in the

On February 2, 2011, the Municipality asserted certain objections to the scope of the

subpoena, including an objection to MKB’s request for documents stored electronically in the

 

l Declaration of Stephen L. Nourse (“Nourse Decl."), 11 5; Exhibits E.

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5 Nourse Decl., Exhibits A; B.

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Cl\/IS.7 According to the Municipality, the scope of MKB’s subpoena would be “vastly more
reasonable” if limited to "records involving, for example, the north bulkhead,” and if it did
“not require the Port to make a special effort to locate and retrieve records from Cl\/IS.”8

MKB responded and counsel for the parties conferred on February 8, 2011.9 During
the conference, MKB agreed to narrow the scope of the subpoena to four specific categories
of documents, plus access to CMS.‘O The Municipality agreed to produce the four categories
of documents, but denied MKB access to all documents stored electronically on CMS, and all
hard copy documents the Municipality obtained from Cl\/lS.ll In its follow up letter, the
Municipality explained the basis for its denial Simply stated, the Municipality will not
comply with Fed.R.Civ.P. 45 because “MARAD has instructed [it] not to release access
codes to CMS, and [it] expect[s] a letter from them early next week with more detail.”12

Access to the CMS records is time sensitive MARAD, ICRC, QAP, MKB, and
potentially other Project stakeholders are scheduled to mediate in Seattle on March 24-25,
201 1. MKB needs CMS access as soon as possible to adequately prepare for mediation

III. LEGAL ARGUMENTS

Under Fed.R.Civ.P. 45, a non-party may be required to produce “electronically stored
information in that person’s possession, custody, or control....” Fed.R.Civ.P.
45(a)(1)(A)(iii) (emphasis added). The person responding to the subpoena may object on the

basis that the information is not reasonably accessible because of undue burden or cost, but the

 

7 I_d., Exhibit C.

8 M-

t Q., 11 5;Exhibit1).

“’ ga Exhibit F.

“ g Exhibit G.

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responding party bears the burden of proof. Fed.R.Civ.P. 45(d)(l)(D). An objection may also
be lodged on the basis that information sought is privileged or subject to protection as trial-
preparation material Under those circumstances, however, the responding party must describe
the privilege and nature of the documents withheld Fed.R.Civ.P. 45(d)(2)(A)(ii).

In this case, the Municipality has control over documents stored electronically on the
CMS, because it admittedly “has the legal right to obtain the document[s], even [if] in fact it has
no copy." 8A Charles Alan Wright, Arthur R. Miller and Richard L. Marcus, Federal Practice
and Proceclure, § 2210 at 397 (2nd ed. 1994).'3 Computer passwords are treated like file cabinet
locks under Fed.R.Civ.P. 26 and 45, They are no excuse to compliance with discovery,

Moreover, the Municipality has not and cannot satisfy its burden of showing the CMS
records are not reasonably accessible It has not even made the suggestion The Municipality
instead offered to segregate all of its hard copy documents obtained from the CMS site - in order
to withhold them Retrieval of the electronic records will involve less work than separating the
hard copies The Municipality need only enter a password and browse a website. And if given
the password, MKB will do it.

Finally, the Municipality has claimed no privilege lt is difficult to imagine what
privilege could apply to Project records such as “task orders and contractual change orders,”
particularly given the unfettered access provided to a multitude of Project stakeholders with
potentially competing interests.14 Nevertheless, the Municipality’s only justification for its

outright refusal to comply with Fed.R.Civ.P. 45 is that “MARAD has instructed [it] not to

 

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"` E.115; Exhibits c; G.
“ M.,115;Exhibit15.

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release access codes to CMS, and [it] expect[s] a letter from them early next week with more
detail.”15 That is no justification at all. The response implicates contempt under Fed.R.Civ.P.
45(c) and cause for an award of expenses under Fed.R.Civ.P. 37(a)(5).
IV. CONCLUSION

Based on the foregoing, MKB respectfully requests the Court compel disclosure under
Fed.R.Civ.P. 45(c)(2)(B)(i), and order immediate production of the documents stored
electronically on CMS, or altematively, to provide MKB access to the site. MKB further
requests the Court order the Municipality to provide MKB with any index to the CMS records. .

DATED this 18lh day of February, 201 1.

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15 1a at Exhibit G.

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CERTIFICATE OF SERVICE

 

l hereby certify that on February 18, 201 1, 1 electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to
opposing counsel, and I hereby certify that I have hand delivered by Legal Messenger
Service, Inc. to the following non CM/ECF participants:

Robert P. Owens

Assistant Municipal Attorney
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